
54 N.Y.2d 698 (1981)
In the Matter of the Arbitration between Peter Ottley, as President of Local 144, Hotel, Hospital, Nursing Home and Allied Health Services Union, SEIU, AFL-CIO, Respondent, and Morris Mostoff et al., Doing Business as Dover Nursing Home, Appellants.
Court of Appeals of the State of New York.
Decided July 6, 1981.
Jeffrey R. Cohn for appellants.
Daniel Engelstein for respondent.
Concur: Chief Judge COOKE and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and MEYER.
On summary consideration, order affirmed, with costs. While we do not agree with the analysis articulated by the *700 Appellate Division, we cannot say on this record that the arbitrator committed misconduct.
